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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  NEM/DEL/GP                                         271 Cadman Plaza East
  F. #2020R00580                                     Brooklyn, New York 11201

                                                     September 13, 2023

  The Honorable Carol B. Amon
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     United States v. Yu et al.
                        Criminal Docket No. 22-208 (CBA)

  Dear Judge Amon:

                 Each of the defendants in this case has moved to suppress evidence obtained
  pursuant to six search warrants (the “Challenged Warrants”). On August 29, 2023 and
  September 5, 2023, the Court ordered the government to advise the Court and defense counsel
  of the evidence obtained from the Challenged Warrants that the government seeks to introduce
  at trial. The government previously provided the Court with a list of such evidence on August
  31 (ECF Dkt. No. 194) and September 5 (ECF Dkt. No. 202). The government respectfully
  submits this letter to provide the Court with an update about the evidence it seeks to introduce
  at trial. In effort to streamline the evidence and narrow the issues in advance of trial, the
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  government no longer seeks to introduce cell-site location evidence for a phone number
  associated with Zhe Zhang (ending in -9054) which was obtained as a result of the May 3,
  2021 Cell-Site Warrant, as reflected in Government Exhibits 600 and 1401. 1 Accordingly,
  Zhang’s motion to suppress the fruits of the May 3, 2021 Zhang Cell-Site Warrant is moot.


                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:     /s/
                                                   Nadia E. Moore
                                                   Devon Lash
                                                   Gabriel Park
                                                   Assistant U.S. Attorneys
                                                   718-254-7000

  cc:    Clerk of Court (CBA)
         Defense Counsel (By Email and ECF)




         1
                 The government still intends to use other information contained in Government
  Exhibits 600 and 1401, which will contain cell-site location data and a summary of cell site
  location information for other two phone numbers that do not belong to Zhang and thus, are
  not affected by Zhang’s suppression motion.

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